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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

ASSOCIATION OF NEW JERSEY Case No.: 3:18-cv-10507 (PGS) (JBD)
RIFLE & PISTOL CLUBS, INC., (CONSOLIDATED)
BLAKE   ELLMAN, and  MARC
WEINBERG,                             Civil Action
                      Plaintiffs,
v.
MATTHEW PLATKIN, in his official
capacity as Attorney General of New
Jersey, PATRICK J. CALLAHAN, in his
official capacity as Superintendent of the
New Jersey Division of State Police,
RYAN MCNAMEE, in his official
capacity as Chief of Police of the Chester
Police     Department,    and     JOSEPH
MADDEN, in his official capacity as
Chief of Police of Park Ridge Police
Department,

                      Defendants.
MARK    CHEESEMAN,   TIMOTHY Case No.: 1:22-cv-4360 (RMB) (JBD)
CONNELLY, and FIREARMS POLICY
COALITION, INC.
                      Plaintiffs,
v.
MATTHEW J. PLATKIN, in his official
capacity as Acting Attorney General of
New Jersey, PATRICK J. CALLAHAN,
CHRISTINE A. HOFFMAN, BRADLEY
D. BILLHIMER, in his official capacity
as Ocean County Prosecutors,
                      Defendants.

BLAKE ELLMAN, THOMAS R. Case No.: 3:22-cv-4397 (PGS)(JBD)
ROGERS, ASSOCIATION OF NEW


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  JERSEY RIFLE & PISTOL CLUBS,
  INC.
                        Plaintiffs,
  v.

  MATTHEW PLATKIN, in his official
  capacity as Attorney General of New
  Jersey, PATRICK CALLAHAN, in his
  official capacity as Superintendent of the
  New Jersey Division of State Police, LT.
  RYAN MCNAMEE, in his official
  capacity as Officer in Charge of the
  Chester     Police    Department,     and
  KENNETH BROWN, JR., in his official
  capacity as Chief of the Wall Township
  Police Department,
                        Defendants.




  DEFENDANT KENNETH BROWN, JR.’S BRIEF IN SUPPORT OF MOTION
                 FOR SUMMARY JUDGMENT



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                            PROCEDURAL HISTORY

       On July 1, 2022, Plaintiffs Blake Ellman, Thomas R. Rogers, and the

 Association of New Jersey Rifle and Pistol Clubs, Inc. (hereinafter “Ellman

 Plaintiffs”), filed the within action naming, Defendant, Kenneth J. Brown, Jr., in

 his official capacity as Chief of the Wall Township Police Department (hereinafter

 “Defendant Brown”). Subsequent to the initial filing, the Codefendants, Matthew J.

 Platkin and Patrick Callahan (hereinafter “State Defendants”) moved to consolidate

 the matter, bearing Docket No. 3:22-cv-04397 with two (2) other filed cases

 bearing Docket Nos. 3:18-cv-10507 and 1:22-cv-04360, By Order of the Court

 dated, the State Defendants’ motion to consolidate all three cases was granted. On

 September 12, 2023, the Court granted State Defendants’ request that the cases

 remain consolidated through the resolution of Daubert and dispositive motions and

 ordered the same.

       The Complaint filed against Defendant Brown alleges, “Defendant Kenneth

 R. Brown, Jr. is the Chief of Police for the Wall Township Police Department and

 is the chief law enforcement officer in the jurisdiction in which Plaintiff Rogers

 resides. His official address is Wall Township Police Department, 2700 Allaire

 Rd., Wall Township, NJ 07719. He is being sued in his official capacity.” (See

 Exhibit A, Para. 15). There are no factual allegations against Defendant Brown in

 Plaintiff’s Factual Allegations Section contained in Plaintiff’s Complaint. The only



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 factual allegations alleged by Plaintiff Rogers that may be relative to Defendant

 Brown are that Plaintiff Rogers confirms that he has not applied for a license to

 possess common semi-automatic firearms in Wall Township and merely alleges

 that “Plaintiff Rogers would apply for a license to possess common semi-automatic

 firearms, but that he knows that such an attempt would be futile and he would be

 denied.” (See Exhibit A, Para. 49). Plaintiff seeks injunctive relief permanently

 enjoining Defendant Brown and other defendants from enforcing the provision of

 N.J.S. 2C:39-5(f).

                  STATEMENT OF UNDISPUTED MATERIAL FACTS

         Kenneth J. Brown, Jr., is the former Chief of Police of the Wall Township

 Police Department. Chief Brown retired from the Wall Township Police

 Department effective August 1, 2022. From that date on, Defendant Brown has had

 no involvement in and authority over any matter concerning the operation of the

 Wall Township Police Department, including but not limited to, any prospective

 application to carry any type of weapon. Counsel for the Ellman Plaintiffs have

 been advised to the fact that Defendant Brown is no longer the Chief of the Wall

 Township Police Department. (See Exhibits B, C, D, and E).




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                                LEGAL ARGUMENT

                                       POINT I

                  All Claims against Defendant Kenneth J. Brown Jr.
                  are Moot and the Complaint against Him must be
                  Dismissed.
         This Court, like any other court, may lose jurisdiction over a matter because

 of the occurrence of events after the commencement of suit which terminate the

 controversy at issue. “Though federal courts have a ‘virtually unflagging obligation

 to exercise the jurisdiction given them,’ Article III of the Constitution limits the

 federal judiciary’s authority to exercise its ‘judicial Power’ to resolving ‘Cases’

 and ‘Controversies.’” Hamilton v. Bromley, 862 F.3d 329, 334 (3d Cir. 2017)

 (internal citation omitted). Courts enforce this case-or-controversy limitation

 ‘through the several justiciability doctrines . . . ,’ including ‘standing, ripeness,

 mootness, the political-question doctrine, and the prohibition on advisory

 opinions.’” Id. at 334–35. The mootness doctrine requires that a case or

 controversy continues through all stages of federal judicial proceedings. See Lewis

 v. Continental Bank Corp., 494 U.S. 472, 477 (1990). “This means that, throughout

 the litigation, the plaintiff ‘must have suffered, or be threatened with an actual

 injury traceable to the defendant and likely to be redressed by a favorable judicial

 decision.’” Spencer v. Kemna, 523 U.S. 1 (1998). It is not enough that a case or

 controversy existed when the suit was filed. Lewis, 494 U.S.at 477-78. Generally,


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 a case may become moot if: (1) the specific alleged violation at issue has ceased

 and it is not reasonably likely that it will occur again; and (2) other interim relief or

 events eliminated the effects of the alleged violation. See N.J. Turnpike Auth. v.

 Jersey Cent. Power & Light, 772 F.2d 25, 30-31 (3d Cir. 1985). Here, the Court

 cannot grant the Plaintiff the only valid relief he seeks: issuing an injunction

 prohibiting former Chief Brown from enforcing a currently valid State Statute as

 he no longer has any ability or power to either grant or deny an application

 contemplated by the Plaintiff. Accordingly, no actual or threatened injury can be

 traceable to Defendant Brown that can be redressed by a favorable judicial

 decision and Plaintiff’s claims against Defendant Brown must fail as moot.

                                     POINT TWO

                  The Claims against Defendant Kenneth J. Brown Jr.
                  are Not Ripe and Accordingly All Claims Against
                  Him must be Dismissed

         The ripeness doctrine requires that a challenge grows out of a “real,

 substantial controversy between parties” involving a “dispute definite and

 concrete.” Babbitt v. United Farm Workers National Union, 442 U.S. 289, 298

 (1979). The main function of this doctrine is to determine whether a party has

 brought an action prematurely. Peachlum v. City of York, Pennsylvania, 333 F.3d

 429, 433–34 (3d Cir. 2003) (citing Philadelphia Federation of Teachers, American

 Federation of Teachers, Local 3, AFL–CIO v. Ridge, 150 F.3d 319, 323 (3d Cir.


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 1998)). The doctrine also functions to encourage abstention until the dispute is

 sufficiently concrete to satisfy the constitutional and prudential requirements of the

 doctrine. Abbott Lab'ys v. Gardner, 387 U.S. 136, 140 (1967) (overruled on other

 grounds).

         The overarching question in each case is whether the facts alleged show that

 there is a substantial controversy, between parties having adverse legal interests,

 “of sufficient immediacy and reality” to justify judicial resolution. Maryland

 Casualty Co. v. Pacific Coal & Oil Co., 312 U.S. 270, 273 (1941) (emphasis

 added). Indeed, a claim or dispute is not ripe for adjudication “if it rests upon

 ‘contingent future events that may not occur as anticipated, or indeed may not

 occur at all.’” Texas v. U.S., 523 U.S. 296 (1998) (quoting Thomas v. Union

 Carbide Agr. Prod. Co., 473 U.S. 568, 580 (1985)). Further, it has been explicitly

 held that “ruling on federal constitutional matters in advance of the necessity of

 deciding them [is to be avoided].” Armstrong World Indus., Inc. by Wolfson v.

 Adams, 961 F.2d 405, 413 (3d Cir. 1992).

         To determine whether a particular dispute is ripe for judicial resolution,

 courts employ the Abbott Laboratories test, which requires courts to evaluate two

 factors to determine whether a dispute is ripe: “(1) the fitness of the issues for

 judicial decision and (2) the hardship to the parties of withholding court

 consideration” until a later time. Abbott Lab'ys, 387 U.S. at 140.

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          In Toilet Goods I, the Court found that where the harm and justification for

  action are both contingent on future administrative action, adjudication should be

  postponed. Toilet Goods Ass'n, Inc. v. Gardner, 387 U.S. 158, 162 (1967).

  Similarly, in Wheeler, judicial resolution was not appropriate where the Court

  found that the statutory or constitutional implications of an agency's action

  depended on the contours of the agency's actual choice of action and hence could

  not be decided in the abstract. Wheeler v. Barrera, 417 U.S. 402, 426 (1974),

  modified, 422 U.S. 1004 (1975).

          As stated in sections above, Plaintiff Rogers, who is alleged at the time of

  the filing of the Complaint, to be a resident of Wall Township New Jersey, never

  filed any application for a license with the Wall Township Police Department for

  the right to possess a common semi-automatic firearm with Defendant Brown or

  otherwise. Plaintiff merely alleges that if he were to apply for such license in the

  future, then he would be denied. Accordingly, applying the principles set forth

  above, and applying the standards set forth in Abbott, this matter is not ripe for

  adjudication as to Defendant, the former Chief of Police, Kenneth Brown, Jr.




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                                 CONCLUSION

          For the foregoing reasons, the Court should grant Defendant Brown’s

  Motion for Summary Judgment and Ellman Plaintiffs’ Complaint against

  Defendant Brown should be dismissed, with prejudice.




  Dated: November 2, 2023                    /s/ Mitchell B. Jacobs
                                             Mitchell B. Jacobs, Esq.
                                             CLEARY GIACOBBE ALFIERI JACOBS,
                                             LLC
                                             Attorneys for Defendant, Kenneth
                                             Brown, Jr. in his official capacity as
                                             Chief of Wall Township Police
                                             Department




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